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THOMAS G. BRUTON

LERK, US. DISTRICT COURT
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Judge Virginia M. Kendall
Magistrate Judge Michael T. Mason
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Defendant(s)

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